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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF GEORGIA
                            ATLANTA DIVISION


UNITED STATES OF AMERICA,              :
                                       :
     Plaintiff,                        :
                                       :            CIVIL ACTION NO.
     v.                                :            1:16-CR-0099-AT-1
                                       :
BENNETT L. KIGHT,                      :
                                       :
     Defendant.                        :
                                       :

                                 ORDER

      Presently before the Court is the Government’s Unopposed Motion to

Dismiss Indictment [Doc. 245].

      Accordingly, based upon the fundamental competency and due process

grounds outlined within the Government’s motion and exhibits, the Motion to

Dismiss Indictment [Doc. 245] is GRANTED.



      It is SO ORDERED this 9th day of November, 2021.


                                           ___________________________________
                                           AMY TOTENBERG
                                           UNITED STATES DISTRICT JUDGE
